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            1    MARCELLUS MCRAE, SBN 140308
                   mmcrae@gibsondunn.com
            2    GIBSON, DUNN & CRUTCHER LLP
                 333 South Grand Avenue
            3    Los Angeles, CA 90071-3197
                 Telephone: 213.229.7000
            4    Facsimile: 213.229.7520
            5    ASHLEY E. JOHNSON, admitted pro hac vice
                  ajohnson@gibsondunn.com
            6    GIBSON, DUNN & CRUTCHER LLP
                 2001 Ross Avenue
            7    Dallas, TX 75201
                 Telephone: 214.698.3100
            8    Facsimile: 214.571.2949
            9    Attorneys for Defendant AT&T MOBILITY LLC
           10    CHRISTOPHER GRIVAKES
                  cg@agzlaw.com
           11    DAMION ROBINSON
                  dr@agzlaw.com
           12    AFFELD GRIVAKES LLP
                 2049 Century Park East, Suite 2460
           13    Los Angeles, CA 90067
                 Telephone: 310.979.8700
           14    Facsimile: 310.979.8701
           15    Attorneys for Plaintiff ROBERT ROSS
           16

           17                                  UNITED STATES DISTRICT COURT

           18                               NORTHERN DISTRICT OF CALIFORNIA

           19                                         OAKLAND DIVISION

           20    ROBERT ROSS,                                 CASE NO. 4:19-CV-06669 (JST)
           21                         Plaintiff,              JOINT STIPULATION TO EXTEND TIME
                                                              TO FILE ANSWER
           22           v.
                                                              Motion to Dismiss Denied in Part: May 14, 2020
           23    AT&T MOBILITY LLC,
                                                              Current Answer Date: May 28, 2020
           24                         Defendant.
                                                              New Answer Date: June 10, 2020
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Gibson, Dunn &
Crutcher LLP
                                        JOINT STIPULATION TO EXTEND ANSWER DEADLINE
                                                   CASE NO. 4:19-CV-06669 (JST)
                        Case 4:19-cv-06669-JST Document 46 Filed 05/23/20 Page 2 of 3


            1      JOINT STIPULATION TO EXTEND DEFENDANT’S TIME TO FILE AN ANSWER TO
            2                                       PLAINTIFF’S COMPLAINT
            3           Pursuant to Local Rule 6-1(a), Plaintiff Robert Ross (“Ross”) and Defendant AT&T Mobility
            4    LLC (“AT&T”), by and through their respective counsel of record, stipulate and agree as follows:
            5           WHEREAS, Ross filed the Complaint in this action on October 17, 2019;
            6           WHEREAS, AT&T filed its Motion to Dismiss the Complaint on December 6, 2019;
            7           WHEREAS, the Court granted in part and denied in part AT&T’s Motion to Dismiss on May
            8    14, 2020;
            9           WHEREAS, Ross does not intend to file an amended complaint at this time;
           10           WHEREAS, the parties have met and conferred regarding AT&T’s deadline to file an Answer
           11    to Ross’s Complaint;
           12           WHEREAS, the parties agree to an extension of AT&T’s deadline to file an Answer to Ross’s
           13    Complaint;
           14           WHEREAS, the parties agree that the deadline for filing the Answer to Ross’s Complaint
           15    should be extended by 13 days until June 10, 2020;
           16           WHEREAS, the parties have requested no prior extensions to the May 28, 2020 deadline;
           17           WHEREAS, the stipulation will not affect any deadlines fixed by the Court;
           18           IT IS HEREBY STIPULATED AND AGREED, by and between Ross and AT&T through their
           19    respective counsel of record, as follows:
           20                1. The current deadline for AT&T to file its Answer to Ross’s Complaint shall be
           21                   extended by 13 days; and
           22                2. AT&T shall be required to file its Answer to Ross’s Complaint on June 10, 2020.
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                                          JOINT STIPULATION TO EXTEND ANSWER DEADLINE
                                                     CASE NO. 4:19-CV-06669 (JST)
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            1    Dated: May 23, 2020
            2                                                  MARCELLUS MCRAE
                                                               GIBSON, DUNN & CRUTCHER LLP
            3

            4
                                                               By: /s/ Marcellus A. McRae
            5                                                      Marcellus A. McRae
            6
                                                               Attorneys for Defendant AT&T MOBILITY LLC
            7
                 DATED: May 23, 2020                           CHRISTOPHER GRIVAKES
            8                                                  AFFELD GRIVAKES LLP
            9

           10                                                  By: /s/ Christopher Grivakes
                                                                   Christopher Grivakes
           11
                                                               Attorneys for Plaintiff ROBERT ROSS
           12

           13    Local Rule 5-1(i) attestation:
           14
                 Pursuant to Local Rule 5-1(i), I, Marcellus McRae, attest that concurrence in the filing of this
           15    document was obtained from the other signatory to this document.
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Crutcher LLP
                                          JOINT STIPULATION TO EXTEND ANSWER DEADLINE
                                                     CASE NO. 4:19-CV-06669 (JST)
